                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

UNITED STATES OF AMERICA,                            )
                                                     )
               Plaintiff,                            )
                                                     )
v.                                                   )           No. 3:07-CR-157
                                                     )           (Phillips / Shirley)
AMANDA CRYSTAL STIGALL,                              )
                                                     )
               Defendant.                            )

                                MEMORANDUM AND ORDER

       All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

§ 636(b) for disposition or report and recommendation regarding disposition by the District Court

as may be appropriate. This matter is before the Court upon Amanda Stigall’s Motion to Withdraw

Previously Filed Motions [Doc. 28]. Defendant Stigall states that the parties anticipate a resolution

of the case without litigation of the pending motions.

       The Court finds good cause has been shown for withdrawal of the motions and the Motion

to Withdraw Previously Filed Motions [Doc. 28] is GRANTED, and all pending pretrial motions

are denied as moot, without prejudice to re-file should the posture of the case change.

       Accordingly, it is Ordered:

               1. Specific Brady Request No. 1 For Notes of Agent Wallace and / or
               Motion for Government’s Agents, Officers and Attorneys to Retain
               Rough Notes [Doc. 22] is DENIED as moot.

               2. Motion for Notice by the Government Pursuant to Rule 12(b)(4)(B)
               of its intention to Use Evidence Arguably Subject to Suppression
               [Doc. 23] is DENIED as moot.

               3. Motion for on the Record Findings Pursuant to Rules 403 and 404
               [Doc. 24] is DENIED as moot.

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            4. Motion for 30-Day Pretrial Notice of Government’s Intention to
            Use 404(b)-Type Evidence [Doc. 25] is DENIED as moot.

            5. Motion for Pretrial Notice of FRE Rule 608 Evidence of Character
            or Conduct the Government Intends to Offer or FRE 609 Impeachment
            Evidence [Doc. 26] is DENIED as moot.

            6. Motion for Pretrial Hearing to Determine the Admissibility of
            Evidence the Government Intends to Introduce Under Fed. R. Evid.
            702, 703, and/or 705 [Doc. 27] is DENIED as moot.


      IT IS SO ORDERED.
                                                ENTER:



                                                  s/ C. Clifford Shirley, Jr.
                                                United States Magistrate Judge




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